

Kolli v Kaleida Health (2025 NY Slip Op 02538)





Kolli v Kaleida Health


2025 NY Slip Op 02538


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, KEANE, AND HANNAH, JJ. (Filed Apr. 25, 2025.) 


MOTION NO. (487/24) CA 23-01348.

[*1]AJAY KOLLI, AS EXECUTOR OF THE ESTATE OF DR. VENKATESWARA KOLLI, DECEASED, AND MLMIC INSURANCE COMPANY, PLAINTIFFS-RESPONDENTS, 
vKALEIDA HEALTH, DOING BUSINESS AS DEGRAFF MEMORIAL HOSPITAL, DEFENDANT-APPELLANT. KALEIDA HEALTH, DOING BUSINESS AS DEGRAFF MEMORIAL HOSPITAL, THIRD-PARTY PLAINTIFF-APPELLANT, HEALTHCARE PROFESSIONALS INSURANCE COMPANY, THIRD-PARTY DEFENDANT-RESPONDENT.



MEMORANDUM AND ORDER
Motion for leave to appeal to the Court of Appeals granted.








